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 12
 13                       UNITED STATES DISTRICT COURT
 14                      CENTRAL DISTRICT OF CALIFORNIA
 15
      ALS SCAN, INC., a Maryland                     Case No.: 2:16-cv-05051-GW-AFM
 16   corporation,                                   PLAINTIFF’S RESPONSE TO
 17                                                  STATEMENT OF GENUINE
                  Plaintiff,                         DISPUTES RE MOTION FOR
 18                                                  PARTIAL SUMMARY JUDGMENT
                                                     AGAINST DEFENDANT
 19      vs.                                         STEADFAST NETWORKS, LLC
 20                                                  Date: February 1, 2018
      CLOUDFLARE, INC., a Delaware
 21   corporation, et al.,                           Time: 8:30 a.m.
                                                     Place: Courtroom 9D
 22
                   Defendants.                              350 W. 1st Street
 23                                                         Los Angeles, CA
 24
 25
 26
 27
 28


                         ALS MSJ – Steadfast – Response to Genuine Disputes
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  1           ALS Scan’s Claimed                   Steadfast’s Response to Cited Fact
  2           Uncontroverted Facts and             and Supporting Evidence
  3         Supporting Evidence
          1
  4   1a. ALS produces high quality                Disputed that ALS produces high
      proprietary adult content.                   quality adult content as the term “high
  5
                                                   quality” is just opinion. ALS
  6                                                produces niche porn that focuses on
  7                                                exclusively small breasted, skinny
                                                   models with toy insertions (John L.
  8                                                Ambrogi (“JLA”) Declaration Ex. A,
  9                                                Walsh Deposition pp 18 lines 12 -24).
                                                   This niche focus on young models has
 10
                                                   been described by ALS Scan as
 11                                                schoolgirls porn (JLA Declaration Ex.
 12                                                D Penn 09/07/17 Deposition pps 170
                                                   lines 6-24). ALS Scan’s agent Steve
 13                                                Easton does not view ALS’s work as
 14                                                high quality as its sole purpose is to
                                                   sell sex (JLA Declaration Ex. E
 15                                                Easton 07/28/17 Deposition pp 202
 16                                                lines1 - 21).
 17   1a. Moving Party’s Response

 18   The adjective that applies to ALS’s copyrighted content is immaterial.
 19   Steadfast does not dispute that ALS produces proprietary copyrighted adult
      content.
 20
 21
 22   1
        The paragraph numbering in Steadfast’s Statement of Genuine Issues is
 23   confusing. ALS’s Statement had twenty-five undisputed facts, Doc. 296-2.
      Steadfast broke some of those down into separate parts and renumbered ALS’s
 24   paragraphs so that they now total forty-three. For example, Steadfast took
 25   ALS’s first paragraph and broke it out into three separate rows, one for each
 26   sentence. The separate numbering of each row results in the number of
      paragraphs changing from twenty-five to forty-three. Here, ALS sticks to its
 27   original numbering of twenty-five paragraphs. Where Steadfast took a single
 28   paragraph and broke it out into separate rows, ALS here numbers those rows
      “1a., 1b., 1c.” etc.
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  1         ALS Scan’s Claimed                    Steadfast’s Response to Cited Fact
  2         Uncontroverted Facts and              and Supporting Evidence
  3         Supporting Evidence
  4
  5   1.b. ALS has registered its works with      Admitted that ALS Scan has, in some
      the Copyright Office. (Walsh Decl. ¶¶       instances, registered some of its works
  6   2, 3; Third Amended Complaint               with the Copyright Office. Disputed
  7   [“TAC”] Ex. 1.)                             that it has registered all of its work
                                                  with the Copyright Office. ALS has
  8                                               admitted that it ceased applying for
  9                                               copyright registration for the period
                                                  2004 to 2015 (JLA Declaration Ex. A
 10
                                                  Walsh Deposition pp 42:19 to 43:9).
 11                                               It is unclear whether all the images at
 12                                               issue here have been registered.
      1b. Moving Party’s Response
 13
 14   Steadfast did not controvert that the registrations described by Sarah Walsh and
      listed as Exhibit 1 of the TAC are in fact registrations of ALS’s copyrighted
 15
      works. Steadfast’s theory, without evidence, that the registrations may not
 16   cover “all” of ALS’s works is immaterial.
 17
      1.c. ALS’s content is available on          Disputed that ALS’s content is on
 18   secure web pages, access to which is        secure webpages (JLA Declaration ¶
 19   exclusive to paying members of ALS’s        10 Exhibit H). Further access to
      websites, alsangels.com and                 much of ALS’s content is not
 20
      alsscan.com.                                exclusive to its members (JLA
 21                                               Declaration ¶¶8-10 Exhibit G). ALS
 22                                               has admitted its content can be
                                                  downloaded for free by non-members.
 23                                               (Declaration Exhibit B Penn 09/13/17
 24                                               Deposition pp 61-62).
      1.c. Moving Party’s Response
 25
 26   ALS did not say that its content is only on secure pages accessible to paying
 27   members. The Ambrogi declaration attaches two screen captures from the
      public “Home Page” of ALS Scan that has a limited selection of publicly
 28   available sample shots. Penn Reply Decl. ¶¶ 2-3. The Penn testimony is

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  1         ALS Scan’s Claimed                    Steadfast’s Response to Cited Fact
  2         Uncontroverted Facts and              and Supporting Evidence
  3          Supporting Evidence
  4   mispresented. He said that ALS offers “promotional galleries that contain a
      limited sampling of images that are viewable for free.” 61:12-17. Mr. Penn did
  5
      not say ALS provides a feature to download the promotional content. He said
  6   that any image on the Internet can be captured with a right click or screen
  7   capture. 61:18-62:7.
  8   2.a. ALS is also owner of the registered    Admitted that ALS is an owner of a
  9   mark “ALS Scan” in connection with          registered mark “ALS SCAN.”
      web sites and multimedia materials          Disputed to the extent that it
 10
      featuring adult entertainment.              inaccurately describes the actual
 11                                               services that ALS offers.
 12   2.a.. Moving Party’s Response
 13   What’s the inaccuracy and where is the evidence of inaccuracy? The
 14   undisputed testimony is that the ALS Scan mark appears on its content on web
      sites.
 15
 16   2.b. ALS content always displays            Disputed, ALS content does not
 17   ALS’s registered “ALS Scan”                 always display the ALS Scan
      trademark.                                  trademark (JLA Declaration ¶¶7-9
 18                                               Exhibits F and G).
 19   2.b. Moving Party’s Response
 20
      Steadfast captured an image from the free tour page, one that has a different
 21   aspect ratio than the images in the members’ pages. The same image taken
 22   from the members’ area shows the “ALS Scan” mark in the lower right. Penn
      Reply Decl. ¶¶ 3, 4, Ex. B.
 23
 24   2.c. Thus, unlawful display of an           Disputed, to the extent that this
      infringing ALS image infringes both         statement is meant to apply to this
 25
      ALS’s copyrights and trademark rights.      specific case, but admitted to the
 26   (Walsh Decl. ¶ 4; TAC Ex. 2.)               extent it is a general conclusion of
 27                                               law. Disputing further, ALS allows
                                                  numerous individuals and companies
 28                                               to display and download its content

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  1         ALS Scan’s Claimed                     Steadfast’s Response to Cited Fact
  2         Uncontroverted Facts and               and Supporting Evidence
  3         Supporting Evidence
  4                                                (Declaration Exhibit B Penn 09/13/17
                                                   Deposition pp 61-62). Moreover,
  5
                                                   since not all ALS images use ALS’s
  6                                                trademark, this statement is false. See
  7                                                Response to number 5 above.
      2.c. Moving Party’s Response
  8
  9   Steadfast has no evidence that ALS’s doesn’t own the copyright to its content or
      that ALS gives it all away for free. The statement that “ALS allows numerous
 10
      individuals and companies to display and download its content” is an abject
 11   misrepresentation of the Penn testimony. He said that ALS offers “promotional
 12   galleries that contain a limited sampling of images that are viewable for free.”
      61:12-17. Mr. Penn did not say ALS provides a feature to download the
 13   promotional content. He said that any image on the Internet can be captured
 14   with a right click or screen capture. 61:18-62:7. Steadfast is mistaken that the
      sample photo it took from the free home page lacks the trademark as displayed
 15
      in the members’ area. Penn Reply Decl. ¶¶ 3, 4, Ex. B.
 16
 17   3. ALS’s largest business problem is          Disputed as to what ALS’s largest
      the ubiquitous availability of infringing    business problem is. ALS is a niche
 18   ALS content on Internet sites with no        website that focuses on schoolgirl
 19   apparent function other than to provide      porn with an emphasis on insertions
      storage on servers to entire galleries of    Despite its niche content ALS has
 20   stolen adult content – “pirate” sites.       many competitors including
 21   (Walsh Decl. ¶¶ 5-7.)                        Nubiles.net; club17.com; ftvgirls.com
 22                                                in the same niche; Further ALS’s
                                                   business model namely a pay site
 23                                                model was created before the
 24                                                proliferation of free sites with
                                                   adverting such as pornhub.com,
 25                                                tube8.com, xhamster.com and
 26                                                redtube.com have become the most
                                                   popular way to access pornographic
 27
                                                   images.
 28                                                (JLA Declaration Exhibit A Walsh

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  1         ALS Scan’s Claimed                     Steadfast’s Response to Cited Fact
  2         Uncontroverted Facts and               and Supporting Evidence
  3         Supporting Evidence
  4                                                Deposition pp 18:12 – 20:5; JLA
                                                   Exhibit D Penn 09/07/17 Deposition
  5
                                                   pps 170 lines 6-24, 171:2 – 175:6).
  6                                                See also responses to number 3, 8 and
  7                                                9.
      3. Moving Party’s Response
  8
  9   Steadfast did not controvert ALS’s assessment that infringement is its largest
      business problem. ALS did not say that it was free from all competition in the
 10
      marketplace or that the market has no alternatives to subscription-based
 11   websites like ALS.
 12
      4. ALS has observed an endless loop          Disputed. While ALS claims to see
 13   of systematic infringement: 1) within        systematic infringement for years it
 14   hours after ALS posts a new content          took only the bare minimum of effort
      gallery on its secure webpages a stolen      to police its content. ALS never used
 15
      copy of the entire gallery is displayed      digital rights protection mechanisms
 16   for free on a pirate site; 2) adult “fan”    known as DRM; software. ALS never
 17   forums (e.g. vipergirls.to) provide          prevented its members from
      surfers with links to the free stolen        downloading all of its content; never
 18   ALS galleries; 3) infringing content on      attempted to determine which of its
 19   the pirate sites is juxtaposed with          members were posting its content on
      advertisements placed by ad brokers          the adult fan forums. In fact, ALS
 20   who pay for clicks or joins; 4) ALS          admits its “practice was never to use
 21   sends notice(s) of infringing content on     any sort of technology or tracking to
 22   the pirate site and, sometimes, the          see an image come off of our server
      infringing content is taken down; but 5)     and then follow it as that user took it
 23   that gallery or another stolen ALS           and you know, tried to disseminate it
 24   gallery appears on another page of the       elsewhere.”
      same pirate site shortly thereafter; and     The only thing that ALS did was to
 25   6) the cycle continues endlessly.            hire Steve Easton for a flat fee to send
 26   (Walsh Decl. ¶ 8.)                           DMCA notices. Mr. Easton did not
                                                   have any quota of notices to send nor
 27
                                                   did ALS hire anybody else to assist
 28                                                with the takedown of images (JLA

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  1         ALS Scan’s Claimed                     Steadfast’s Response to Cited Fact
  2         Uncontroverted Facts and               and Supporting Evidence
  3         Supporting Evidence
  4                                                Declaration Exhibit A Walsh
                                                   Deposition pp 26:16-27:pp 34:12-
  5
                                                   35:22; Exhibit B Penn 09/13/17
  6                                                Deposition pps 96 lines 18-22, 100
  7                                                lines 3-7; ).
      4. Moving Party’s Response
  8
  9   Steadfast did not controvert what ALS has observed. Instead, it added new
      facts that don’t materially controvert ALS’s motion. Steadfast mispresents the
 10
      Penn deposition. All he said was that it was possible that ALS members
 11   downloaded ALS content then reuploaded that to a pirate site without authority,
 12   but he did not testify ALS knew this to be the case. He said that he was not
      aware of any adult content provider that used digital rights management
 13   (“DRM”). Mr. Penn did not say, nor did Steadfast provide evidence, that any
 14   DRM technology would prevent or identify an ALS member from uploading
      content to a pirate site or identify that member. In any event, Steadfast has no
 15
      evidence or authority that ALS loses its rights under the Copyright law because
 16   ALS is not using technology that Steadfast insists it should employ.
 17
      5. Providing notice of infringement to,      Disputed, ALS has only paid Steve
 18   and seeking to hold parties responsible      Easton a flat fee each year for the past
 19   for, infringing activity is a time           15 years (JLA Declaration Exhibit A
      consuming, expensive and fraught             Walsh Deposition pp 34:12-35:22).
 20   endeavor. ALS pays an agent, Steve           Further, ALS has admitted that its
 21   Easton, to observe and send notices of       number of paid subscribers is low.
 22   infringement on ALS’s behalf.                (JLA Declaration Exhibit A Walsh
      However, even where a pirate site            Deposition pp 23 lines 2-3). ALS is
 23   complies with a takedown notice, other       aware that some of its paid
 24   infringing ALS content appears on the        subscribers are meting out its
      same site. ALS gives notice where it         copyrighted images but it has never
 25   can to companies providing services to       bothered to determine which members
 26   the pirate sites, such as storage of the     were responsible for these activities
      pirate sites on servers, but too often the   (JLA Declaration Exhibit A Walsh
 27
      service providers decline to terminate       Deposition pp 23:18 to 25:11).
 28   services. Thus, ALS is forced to play        Further, despite knowing that its paid

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  1         ALS Scan’s Claimed                    Steadfast’s Response to Cited Fact
  2         Uncontroverted Facts and              and Supporting Evidence
  3          Supporting Evidence
  4   an endless game of “whack-a-mole”           subscribers were violating its terms
      with no abatement in infringement of        and conditions ALS never terminated
  5
      its content. (Walsh Decl. ¶ 9.)             any memberships (JLA Declaration
  6                                               Exhibit B Penn 09/13/17 Deposition
  7                                               pps. 98:10 to 100:8).
                                                  Lastly ALS was aware that
  8                                               individuals (the “moles”), more than
  9                                               likely ALS paid subscribers, were
                                                  uploading the ALS content to the fan
 10
                                                  forums but ALS never tried to stop
 11                                               them. Ambrogi Declaration Exhibit B
 12                                               (Penn 09/13/17 Deposition pps. 94:8
                                                  to 97:2).
 13   5. Moving Party’s Response
 14
      Steadfast did not controvert ALS’s testimony, but added additional facts that do
 15
      not warrant denial of ALS’s motion. ALS pays Steve Easton what it can afford
 16   to pay. Sarah Walsh did not say that the number of ALS subscribers is “low.”
 17   Walsh Depo. 23:2-3. Steadfast mispresents the Penn deposition. All he said
      was that it was possible that ALS members downloaded ALS content then
 18   reuploaded that to a pirate site without authority, but he did not testify ALS
 19   knew this to be the case. He said that he was not aware of any adult content
      provider that used digital rights management (“DRM”). Mr. Penn did not say,
 20   nor did Steadfast provide evidence, that any DRM technology would prevent or
 21   identify an ALS member from uploading content to a pirate site or identify that
      member.
 22
 23   6. Imagebam.com has frequently              Disputed, Easton sent 853 Notices to
 24   stored and displayed infringing             Imagebam and cc’d Steadfast. All the
      galleries of ALS content. From              notices were handled directly by
 25   December 26, 2013 through June 22,          Imagebam. ALS has admitted that
 26   2017 Steve Easton sent 853 notices of       Imagebam had a method that allowed
      infringement to imagebam.com and            copyright owners to provide notice of
 27
      Steadfast of infringing content             infringement (JLA Declaration
 28   belonging to ALS or other of Steve          Exhibit J). Steadfast further disputes

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  1         ALS Scan’s Claimed                     Steadfast’s Response to Cited Fact
  2         Uncontroverted Facts and               and Supporting Evidence
  3          Supporting Evidence
  4   Easton’s adult clients that was              the remainder of this paragraph as
      reproduced, displayed and distributed        there is no evidence in the record
  5
      without authority on imagebam.com.           regarding the content of Mr. Easton’s
  6   (Easton Decl.; Notice of Manual              other clients; nor is there evidence
  7   Filing; Penn Decl. ¶¶ 2-4, Ex. 1; Walsh      showing which content belonging to
      Decl.¶¶ 10, 11.) Of those notices from       ALS was infringed. Ambrogi
  8   Easton, 185 gave notice of copyright         Declaration Exhibit C Easton
  9   and trademark infringement pertaining        09/06/17 Deposition pp 36:3 to 38:4;
      to ALS’s content. (Id.) A single email       Exhibit B Penn 09/13/17 Deposition
 10
      often gave notice of infringement of         56:6 to 57:24). Disputed as to the
 11   dozens, if not two hundred or more,          validity of these notices. Steadfast is
 12   copyrighted works. (Id.)                     not Imagebam.com’s designated
                                                   agent, thus all notices sent to
 13                                                Steadfast in regards to imagebam.com
 14                                                were ineffective under the DMCA.
      6. Moving Party’s Response
 15
 16   Steadfast admitted the number and receipt of the notifications. ALS’s
 17   paragraph did not address relative responsibility to “handle” the notices or legal
      sufficiency of the notifications. Steadfast’s complaint that “there is no evidence
 18   in the record regarding the content of Mr. Easton’s other clients” is
 19   unintelligible. All of the Easton notices, in respect of ALS content and the
      content of other copyright owners, is on the disc submitted with the Notice of
 20   Manual Filing. Easton said in his declaration that he represents and send
 21   notices for other copyright owners.
 22
      7. Steadfast admitted to receiving a         Disputed, Steadfast received 1517
 23   total of 1,517 notifications of              notices regarding Imagebam.
 24   infringement on imagebam.com since           However, the mere receipt of a
      2013. (Spillane Decl. ¶ 2, Ex. 1,            DMCA notice does not constitute
 25   Response to Interrogatory 13.)               proof of infringement. See, 17 U.S.C.
 26                                                § 512(c)(3), such notices are not the
                                                   sine qua non of copyright liability.
 27
                                                   See Ellison, 357 F.3d at 1077 (claims
 28                                                for on-line copyright infringement are

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                         ALS MSJ – Steadfast – Response to Genuine Disputes
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   1         ALS Scan’s Claimed                     Steadfast’s Response to Cited Fact
   2         Uncontroverted Facts and               and Supporting Evidence
   3         Supporting Evidence
   4                                                evaluated just as they would be in the
                                                    non-online world).”
   5
                                                    Corbis Corp. v. Amazon.com, Inc.,
   6                                                351 F. Supp. 2d 1090, 1105 (W.D.
   7                                                Wash. 2004).
                                                    Disputed, Steadfast disputes the
   8                                                validity of such notices. The notices
   9                                                failed to comply with the DMCA.
                                                    Steadfast was not Imagebam.com’s
 10
                                                    designated agent, and thus these
 11                                                 notices are ineffective under the
 12                                                 DMCA.
       7. Moving Party’s Response
 13
 14    ALS directly quoted Steadfast’s interrogatory response. Steadfast is contesting
       the legal effect of the notices, not the accuracy of the undisputed fact.
 15
 16    8.a. Imagebam.com has been one of            Disputed. ALS did not provide any
 17    the worst sites in terms of regularly        examples of entire galleries of ALS
       displaying entire galleries of infringing    works downloaded on Imagebam.com
 18    ALS works                                    (JLA Declaration Exhibit C Easton
 19                                                 09/06/17 Deposition pp 36:3 to 38:4;
                                                    Exhibit B Penn 09/13/17 Deposition
 20                                                 56:6 to 57:24). Further, Steadfast has
 21                                                 not offered any services to Flyxia
 22                                                 since June 21, 2017 and the
                                                    Imagebam.com website has been sold
 23                                                 to a different entity that is not a
 24                                                 customer of Steadfast (Karl
                                                    Zimmerman Declaration ¶¶ 35-37).
 25                                                 Thus, several exhibits submitted by
 26                                                 Eric Penn are not relevant to the
                                                    claims against Steadfast because the
 27
                                                    exhibits were created 5 months after
 28                                                 Steadfast ceased offering services.

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   1         ALS Scan’s Claimed                      Steadfast’s Response to Cited Fact
   2         Uncontroverted Facts and                and Supporting Evidence
   3         Supporting Evidence
   4   8.a. Moving Party’s Response
   5
       Steadfast provides no evidence which sites have presented ALS with the worst
   6   infringement problems, none to controvert the assertion that imagebam.com has
   7   been one of the worst. The Penn Declaration provided numerous screen
       captures of infringement notices to Steadfast regarding ALS content on
   8   imagebam.com, together with exemplary captures of infringing ALS content on
   9   imagebam.com. Penn Decl. ¶¶ 4-7, Exs. 1-19. Steadfast quarrels with the legal
       effect of the notices, not the accuracy of the facts.
 10
 11    8.b. While imagebam.com apparently            Disputed, as to what imagebam.com
 12    claims to be a content neutral share site     apparently claims to be, the contents
       for third-party uploaded content, thus        of Imagebam.com’s website speaks
 13    claiming the privileges of the DMCA,          for itself (JLA Declaration Ex. Q).
 14    even a short time looking at                  Courts have defined pirate sites as
       imagebam.com reveals key attributes           sites that are "obviously infringing
 15
       of “pirate” sites, ones primarily             because they typically use words such
 16    dedicated to storing galleries of             as ‘pirate,’ ‘bootleg’ or slang terms in
 17    infringing adult content – “red flags” of     their URL and header information to
       infringement. [“In short, these sites are     make their illegal purpose obvious.”
 18    tooled to maximize upload of high             Corbis Corp. v. Amazon.com, Inc.,
 19    volumes of alluring content while             351 F. Supp. 2d 1090, 1109 (W.D.
       minimizing consequences to users              Wash. 2004). Disputed as to ALS’s
 20    uploading content without authority.          self made-up key attributes.
 21    More specifically, imagebam.com, like         ALS through the testimony of Eric
       other pirate sites: 1) offers alternative     Penn, admits that the Imagebam.com
 22
       high volume upload capacities not             website does not advertise in any way
 23    typically offered on ‘mainstream’             for uploaders to make money (JLA
 24    content- share sites; 2) fails to offer       Declaration Exhibit B Penn 09/13/17
       limitations such that only friends or         Deposition 34:3 to 34:14; 36:4 to
 25    invitees may view content, but rather         36:6; 43:16 to 43:19). Furthermore,
 26    uploads all content to unsecure publicly      nothing about the imagebam.com
       viewable pages; 3) monetizes uploaded         URL elicits the terms pirate, bootleg,
 27
       content through advertisements over,          or slang terms (JLA Declaration
 28    under and proximate to uploaded               Exhibit Q). Upon viewing

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   1         ALS Scan’s Claimed                        Steadfast’s Response to Cited Fact
   2         Uncontroverted Facts and                  and Supporting Evidence
   3          Supporting Evidence
   4   content, ads that do not direct traffic to      imagebam.com, nothing about the
       the copyright owner; 4) provides code           website makes it appear like it has an
   5
       or hyperlinks that can be quickly used          obviously illegal purpose (JLA
   6   to publish the location of the                  Declaration Exhibit Q Penn 09/13/17
   7   imagebam.com page on adult ‘fan’                Depo. Ex. 6).
       forums, sites offering links to free
   8   stolen adult content galleries; 5) require
   9   no verifiable personal information to
       upload content and have weak ability
 10
       to track and terminate users; and 6) fail
 11    to display information indicating
 12    compliance with 18 USC § 2257,
       requiring record keeping of the age of
 13    models appearing in adult content.”]2
 14
 15
 16    8.b. Moving Party’s Response
 17    Steadfast did not dispute that imagebam.com has the six characteristics
 18    described in the Penn Declaration. Steadfast suggested other facts not
 19    contained in ¶ 8 and disputed the legal conclusions drawn from the facts.

 20    8.c. In short, these sites are tooled to        Disputed as to the term “alluring” as
 21    maximize upload of high volumes of              any picture can be uploaded to
       alluring content while minimizing               Imagebam.com. Disputed as to what
 22    consequences to users uploading                 qualifies as high volumes. Disputed as
 23    content without authority.                      to this “fact” has no basis in the
 24                                                    record. Disputed as to minimizing
                                                       consequences for users because
 25
 26
 27    2
         Steadfast teased a sentence out of ¶ 8 of ALS’s Statement to make this row,
 28    but the remainder of the paragraph is needed in order to understand the selected
       sentence. The quoted portion in brackets is taken from the rest of ALS’s ¶ 8.
                                                  - 11 -
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   1         ALS Scan’s Claimed                     Steadfast’s Response to Cited Fact
   2         Uncontroverted Facts and               and Supporting Evidence
   3         Supporting Evidence
   4                                                Flixya’s imagebam.com made it clear
                                                    that those who violate copyright laws
   5
                                                    would be terminated. Disputed as to
   6                                                knowing how imagebam.com is
   7                                                tooled; the website speaks for itself.
                                                    See, (JLA Declaration Exhibit Q Penn
   8                                                09/13/17 Depo. Ex. 6).
   9   8.c. Moving Party’s Response
 10
       This sentence was teased out of the middle of ALS’s ¶ 8. The complete quote
 11    in in ¶ 8.b. above. Steadfast did not dispute that imagebam.com has the six
 12    characteristics described in the Penn Declaration. Steadfast suggested other
       facts not contained in ¶ 8 and disputed the legal conclusions drawn from the
 13    facts.
 14    8.d. More specifically, imagebam.com, Disputed, Eric Penn has no special
       like other pirate sites: 1) offers         qualifications which allows him to
 15
       alternative high volume upload             define what a pirate site is as he has
 16    capacities not typically offered on        not been qualified as an expert.
 17    “mainstream” content-share sites; 2)       Penn’s statements are mere opinion.
       fails to offer limitations such that only Further disputed, ALS did not provide
 18    friends or invitees may view content,      any examples of entire galleries of
 19    but rather uploads all content to          ALS works downloaded on Imagbam.
       unsecure publicly viewable pages; 3)       Further, Steadfast has not offered any
 20    monetizes uploaded content through         services to Imagebam since June
 21    advertisements over, under and             2017. Thus, several exhibits
 22    proximate to uploaded content, ads that submitted by Eric Penn are not
       do not direct traffic to the copyright     relevant to the claims against
 23    owner; 4) provides code or hyperlinks Steadfast because the exhibits were
 24    that can be quickly used to publish the created 5 months after Steadfast
       location of the imagebam.com page on ceased offering services. Further,
 25    adult “fan” forums, sites offering links Imagebam.com is no longer owned by
 26    to free stolen adult content galleries; 5) Flixya. ALS, through Eric Penn,
       requires no verifiable personal            admits Imagebam.com allows users to
 27
       information to upload content and has      post images onto Twitter and forums
 28    weak ability to track and terminate        and blogs and eBay and Craigslist and

                                               - 12 -
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   1         ALS Scan’s Claimed                      Steadfast’s Response to Cited Fact
   2         Uncontroverted Facts and                and Supporting Evidence
   3          Supporting Evidence
   4   users; and 6) fail to display information     Facebook all of which are legitimate
       indicating compliance with 18 USC §           uses (JLA Declaration Exhibit B Penn
   5
       2257, requiring record keeping of the         09/13/17 Deposition 66:22 to 67:5).
   6   age of models appearing in adult              Lastly numerous third parties have
   7   content. (Penn Decl. ¶¶ 8-32, Exs. 20-        acknowledged that Imagebam.com
       22.)                                          offers legitimate services (JLA
   8                                                 Declaration Exhibits K to N).
   9   8.d. Moving Party’s Response
 10
       Steadfast did not dispute that imagebam.com has the six characteristics
 11    described in the Penn Declaration. Steadfast suggested other facts not
 12    contained in ¶ 8 and disputed the legal conclusions drawn from the facts.
       9.a. Steadfast is a company providing Admitted as to what services
 13    Cloud Services, Dedicated Servers,        Steadfast generally provides.
 14    Data Center Colocation, Disaster
       Recovery & Business Continuity,
 15
       Managed Security and IT Consulting.
 16    www.steadfast.net; Spillane Decl. ¶ 3,
 17    Ex. 2. .
       9.b. In the words of Karl Zimmerman, Admitted, as to the services Steadfast
 18    Managing Member of Steadfast,             offers in general. As it relates to here,
 19    Steadfast provides “IT Infrastructure     Steadfast leased Flixya dedicated
       Services.” Zimmerman Depo. pp. 12- servers (Zimmerman Declaration ¶
 20
       13                                        19)
 21    10. One of Steadfast’s clients was        Disputed that Flixya only operated
 22    Flixya Entertainment, which operated      imagebam.com. Flixya leased,
       imagebam.com. Flixya opened an            controlled, and operated the server, on
 23    account with Steadfast in July 2006.      which it operated, managed, and
 24    Steadfast maintained the physical         owned imagebam.com and the
       server. Id. pp. 14. Flixya leased         contents of the server, and possibly
 25    dedicated servers owned by Steadfast, other websites (Zimmerman
 26    on which was stored imagebam.com.         Declaration ¶¶ 13-22)
 27
 28

                                                - 13 -
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   1           ALS Scan’s Claimed                     Steadfast’s Response to Cited Fact
   2           Uncontroverted Facts and               and Supporting Evidence
   3         Supporting Evidence
   4   [“Steadfast maintained the physical            Admitted to the extent that 1) Flixya
       server.”]3                                     Entertainment was one of Steadfast’s
   5
                                                      clients; 2) Flixya operated
   6                                                  imagebam.com; and 3) Flixya opened
   7                                                  an account with Steadfast in July
                                                      2006. As mentioned previously, that
   8                                                  account closed on June 21, 2017
   9                                                  (Zimmerman Declaration ¶¶ 15-20,
                                                      35).
 10
       10. Moving Party’s Response
 11
 12    Steadfast did not controvert any of ALS’s facts. ALS did not say that
       imagebam.com was Flixya’s only operation, nor did ALS attempt to establish
 13    the date on which Flixya may have closed its account with Steadfast.
 14
       11.a. Flixya leased three dedicated            Admitted that Flixya leased services.
 15
       servers from Steadfast with 3 Terabyte         Answering further Steadfast leased
 16    upload capacities. Flixya also                 servers to Flixya for a flat fee. It did
 17    purchased basic management services.           not receive compensation from Flixya
       Id. pp. 16-21, Exs. 1, 2.                      for any other reason besides leasing
 18                                                   the servers for a flat fee; it did not
 19                                                   operate, manage, or control the
                                                      Flixya-leased servers. The Flixya-
 20                                                   leased servers were “dedicated
 21                                                   servers,” meaning that the entire
 22                                                   server was operated, managed, and
                                                      controlled by Flixya. Steadfast was
 23                                                   not authorized to hack Flixya’s
 24                                                   system or database for the purpose of
                                                      removing, locating, or disabling
 25                                                   access to alleged infringing content
 26                                                   (Zimmerman Declaration ¶¶ 14-31).
 27
 28
       3
           Steadfast omitted the bracketed sentence from ALS’s ¶ 10.
                                                 - 14 -
                           ALS MSJ – Steadfast – Response to Genuine Disputes
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   1         ALS Scan’s Claimed                      Steadfast’s Response to Cited Fact
   2         Uncontroverted Facts and                and Supporting Evidence
   3         Supporting Evidence
   4   11.a. Moving Party’s Response
   5
       Steadfast did not controvert ALS’s asserted facts. Steadfast offered other facts,
   6   none of which controvert the asserted facts.
   7
       11.b. Steadfast is not aware of any           Admitted, further answering the
   8   sites Flixya placed on the servers            Flixya-leased servers were “dedicated
   9   leased from Steadfast other than              servers,” meaning that the entire
       imagebam.com. Id. 22:6-9.                     server was operated, managed, and
 10
                                                     controlled by Flixya (Zimmerman
 11                                                  Declaration ¶ 19).
 12    12. Steadfast provided and configured         Admitted, further answering the
       the servers leased by Flixya and placed       Flixya-leased servers were “dedicated
 13    the servers on racks in Steadfast’s data      servers,” meaning that the entire
 14    center. Id. pp. 30-31.                        server was operated, managed, and
                                                     controlled by Flixya (Zimmerman
 15
                                                     Declaration ¶ 19).
 16    13. In March 2007 Flixya raised a             Disputed as to describing business
 17    technical quarrel about the system            communications as a quarrel. Further
       performance they were obtaining from          answering the Flixya-leased servers
 18    the servers provided and configured by        were “dedicated servers,” meaning
 19    Steadast. Id. pp. 33-36, Ex. 4. In the        that the entire server was operated,
       discussion Flixya said “Last night in         managed, and controlled by Flixya
 20
       just under ten hours 33,000 videos            (Zimmerman Declaration ¶ 19).
 21    were uploaded without a single crash.”        Disputed as to the assumption that
 22    Id. 39:14-18, Ex. 4 STF 37844. Mr.            such statement should cause Mr.
       Zimmerman did not wonder why                  Zimmerman to wonder.
 23    imagebam.com was uploading 33,000
 24    videos. Id. 39:19-21. Steadfast did not All of this is irrelevant and hearsay.
       ask what kind of videos were being      None of these “facts” go to any
 25    uploaded. Id. 40:1-3. Flixya said that element of a claim or defense.
 26    the technical issues had resulted in
       “decreased ad revenues.” Id. 40:8-18.
 27
 28

                                                - 15 -
                          ALS MSJ – Steadfast – Response to Genuine Disputes
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   1   13. Moving Party’s Response
   2   Steadfast did not controvert the disputed facts. Whether the conversation
   3   reflects a “quarrel” is a picayune quibble, not a controverted material fact.
       Steadfast offers other facts and questions the legal effect of the asserted fact.
   4
       Karl Zimmerman did not contest the word “quarrel” when testifying to his
   5   discussions with Flixya. Zimmerman Depo. 33:9-13.
   6
       14. Steadfast looked at imagebam.com          Disputed, there are no advertisements
   7   and saw that advertisements were              when going to Imagebam.com’s
   8   placed at the top of pages. Id. 40:19-        homepage (JLA Decl. Ex. Q, Penn
       41:1. Steadfast did not see the drop          09/13/17 Depo. Ex. 6). Answering
   9   box indicating a choice to upload             further Steadfast leased servers to
 10    “adult” or “family friendly” content.         Flixya for a flat fee. It did not receive
 11    Steadfast did not ask whether                 compensation from Flixya for any
       imagebam.com was receiving primarily          other reason besides leasing the
 12    adult content. Id. 41:19-42:3.                servers for a flat fee; it did not
 13                                                  operate, manage, or control the
                                                     Flixya-leased servers. The Flixya-
 14                                                  leased servers were “dedicated
 15                                                  servers,” meaning that the entire
                                                     server was operated, managed, and
 16
                                                     controlled by Flixya. Steadfast was
 17                                                  not authorized to hack Flixya’s
 18                                                  system or database for the purpose of
                                                     removing, locating, or disabling
 19                                                  access to alleged infringing content
 20                                                  (Zimmerman Declaration ¶¶ 14-31).
                                                     Further answering Steadfast was
 21
                                                     forwarded a letter from counsel for
 22                                                  Flixya that stated in part:
 23                                                  “ImageBam is not a pornography site,
                                                     nor is it advertised using user-
 24                                                  uploaded photographs. ImageBam is
 25                                                  designed, and functions as, an image
                                                     hosting service provider. The user of
 26                                                  the website, not ImageBam or its ISP,
 27                                                  posts, copies and distributes images
 28                                                  on the site. ImageBam does not
                                                     upload its own images, nor does it use
                                                - 16 -
                          ALS MSJ – Steadfast – Response to Genuine Disputes
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   1                                                the images uploaded by others for its
                                                    own use, advertising or otherwise,”
   2                                                and “ImageBam takes the claims of
   3                                                intellectual property infringement
                                                    very seriously, which is why we
   4
                                                    comply with the DMCA and provide a
   5                                                means by which intellectual property
   6                                                owners can report infringement.”
                                                    (Zimmerman Decl. ¶ 38) (JLA Decl.
   7                                                Ex. T April 6, 2011 from the Law
   8                                                Office of Hung Chang to James
                                                    Grady)
   9   14. Moving Party’s Response
 10
 11    These are direct quotes from the Zimmerman Deposition. The testimony
       wasn’t that he saw advertisements on imagebam.com’s “home page.” He said
 12    “We had seen image and cases where there was advertisements I believe at the
 13    top of the pages, some of the pages.” Zimmerman Depo. 40:19-41:1. The
       appearance of advertisements in conjunction with the infringing images can be
 14    seen throughout Penn Exs. 1-19. For example Ex. 1 p. 7 (livejasmin.com pop
 15    over ad), Ex. 1 pp. 8-9 (ad over full screen image), Ex. 2 p. 5 (ads over ALS
       cover shot) Ex. 2 p.17 (similar ads over full size image). The other exhibits
 16
       contain similar examples. The remainder of the paragraph contains additional
 17    facts, not disputes to the asserted facts.
 18
       15. The Steadfast servers leased by       Admitted, further stating, MySQL is a
 19    Flixya also stored imagebam.com’s         standard open-source database
 20    MySQL database, “a standard open-         platform that Flixya itself controlled.
       sourced database platform.” Id. pp. 44,   Additionally, Steadfast did not
 21
       62-63.                                    maintain or service the MySQL
 22                                              database and could not accessed it
 23                                              without breaking the law
                                                 (Zimmerman Decl. ¶¶14-20, 30-32).
 24    16. If Steadfast had powered down the Admitted. Answering further, any
 25    servers leased by imagebam.com, the       interruption would have been trivial
       front page of the site would have been because the front page was also on
 26
       inaccessible until Flixya could perform another server not operated by
 27    operations to direct users to the page on Steadfast. (JLA Decl. Ex. O,
 28    some other company’s server. Id. pp.      Zimmerman Declaration at pp. 47).
       46-48.                                    Further, disabling a site without a
                                               - 17 -
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   1                                             court order would be breaking the law
                                                 (JLA Decl. Ex. O, Zimmerman Depo
   2                                             at pp. 45) (Zimmerman Decl. . ¶¶31-
   3                                             33).
       17. Steadfast stored on its servers, at a Disputed. At the maximum Steadfast
   4
       minimum, the front page of                only leased server space to Steadfast
   5   imagebam.com, which supported the         which controlled the MySQL
   6   entire upload capacity, and the MySQL database. Answering further
       database. Id. pp. 33-48; Penn Decl. ¶¶ Steadfast leased servers to Flixya for a
   7   8-20, Exs. 20-22.                         flat fee. it did not receive
   8                                             compensation from Flixya for any
                                                 other reason besides leasing the
   9                                             servers for a flat fee; it did not
 10                                              operate, manage, or control the
 11                                              Flixya-leased servers. The Flixya-
                                                 leased servers were “dedicated
 12                                              servers,” meaning that the entire
 13                                              server was operated, managed, and
                                                 controlled by Flixya. Steadfast was
 14                                              not authorized to hack Flixya’s
 15                                              system or database for the purpose of
                                                 removing, locating, or disabling
 16
                                                 access to alleged infringing content
 17                                              (Zimmerman Declaration ¶¶ 14-31).
 18    17. Moving Party’s Response
 19    Zimmerman specifically testified that if Steadfast has powered down the servers
 20    leased to imagebam.com “the front page of the site would have probably been
       inaccessible for a short period of time.” Zimmerman Depo. 46:1-10. The
 21
       Zimmerman Declaration does not assert that the front page of the
 22    imagebam.com did not reside on the Steadfast server. The rest of the response
 23    consists of additional facts that do not controvert the asserted facts.

 24    18.a. Mr. Zimmerman, as Steadfast’s      Admitted that Mr. Zimmerman could
 25    corporate witness, was not able to       not recall the exact terms of the
       recall what policy Steadfast maintained Steadfast policy at his depositon.
 26
       for termination for repeat infringement;
 27    he relied on website Terms produced in
 28    the case. Id. pp. 10-11, Ex. 1, pp. 88-
       89.
                                               - 18 -
                         ALS MSJ – Steadfast – Response to Genuine Disputes
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   1   18.b. However, Steadfast’s website        Disputed; Steadfast has a DMCA
       says little to nothing on this subject.   policy which is located on the
   2   Steadfast has no links on its homepage Steadfast website (JLA Decl. Ex. U).
   3   or anywhere else on its site using the
       terms “DMCA,” “Abuse” or
   4
       “Infringement.” Steadfast’s home page
   5   has a small link at the bottom titled
   6   “Legal Info and Privacy Policy,” which
       when clicked resolves to Steadfast’s
   7   “Acceptable Use Policy (AUP)/Terms
   8   of Service.” (Spillane Decl. ¶ 5, Ex. 4.)
       18.b. Moving Party’s Response
   9
 10    Steadfast did not controvert the asserted facts. The Ambrogi declaration says
 11    he attaches a page with production numbers STF 37768 to 37770, but the
       attached document has different production numbers. Ambrogi Decl. ¶ 23 Ex.
 12    U. No witness authenticates Ex. U. The hearsay page apparently comes from a
 13    “knowledge base” segment of Steadfast’s website.
       18.c. That page,                           Admitted
 14    https://www.steadfast.net/legal-
 15    information,says it was “last updated
       January 30, 2017.” That was shortly
 16
       after Steadfast first appeared in this
 17    case. (12/8/16 Stipulation to Vacate
 18    Default, Doc. 75.)
       18.d. The current page says “Steadfast Admitted
 19    responds to notices of alleged
 20    copyright infringement and terminates
       accounts of repeat infringers according
 21
       to the process set out in the U.S.
 22    Digital Millennium Copyright Act.”
 23    (Id.)
       18.e. In discovery Steadfast said          Admitted, but this is a question of law
 24    “Steadfast has not defined the term        based on disputed material questions
 25    ‘repeat infringer’ as even the DMCA is of fact.
       silent as to any definition.”
 26
       (Zimmerman Depo. pp. 121-24, Ex. 10,
 27    p. 3 ¶ 5.1.)
 28    18.f. Steadfast’s Terms as of              Disputed as to the characterization
       September 27, 2016, before Steadfast       that the Terms “only” said that. The
                                                - 19 -
                          ALS MSJ – Steadfast – Response to Genuine Disputes
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   1   appeared in this case, which were last        Terms as of September 27, 2016
       updated August 6, 2015, said only             includes the following:
   2   “[a]ny illegal activity may result in         “We reserve the right to refuse service
   3   your site being suspended immediately,        to anyone for any reason not
       without notification. . . . Steadfast will    prohibited by law. Also we reserve
   4
       be the sole arbiter as to what                the right to terminate service to any
   5   constitutes a violation of this               client for any reason not prohibited
   6   provision.” (Spillane Decl. ¶ 6, Ex. 5.)      by law. … All services provided by
                                                     Steadfast may be used for lawful
   7                                                 purposes only. Transmission, storage,
   8                                                 or presentation of any information,
                                                     data or material in violation of any
   9                                                 American law is prohibited. This
 10                                                  includes, but is not limited to:
 11                                                  copyrighted material, trademark,
                                                     intellectual property, material that
 12                                                  promotes any illegal activity, or
 13                                                  material protected by trade secret and
                                                     other statutes without proper
 14                                                  authorization. …
 15
                                                     [Declaration of Karl Zimmerman ¶4,
 16
                                                     Ex. A.] (emphasis added).
 17    18.f. Moving Party’s Response
 18
       The full Terms as of September 27, 2016 are attached to the Spillane Decl. as
 19    Ex. 5. The parties agree that they say what they say.
 20
       19. The first complaint of infringement       Disputed. Steadfast received a
 21
       on imagebam.com came not long after           decreasing number of DMCA notices
 22    Flixya opened an account with                 directed to Imagebam after 2014 (JLA
 23    imagebam.com. As the site “grew in            Decl. Ex. P Response to Interrogatory
       size and popularity,” the number of           No. 13). Disputed that Flixya opened
 24    infringement complaints grew.                 an account with imagebam.com.
 25    Zimmerman Depo. pp. 55-56                     Flixya, owned, operated and managed
                                                     the Imagebam.com website and was
 26                                                  its DMCA agent (Zimmerman Decl.
 27                                                  ¶22) (JLA Decl. Ex. R. Penn 09/13/17
 28                                                  Depo. Ex. 10). Thus, all DMCA
                                                     Notices should have been directed to
                                                - 20 -
                          ALS MSJ – Steadfast – Response to Genuine Disputes
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   1                                                that agent. Answering further,
                                                    Steadfast is not Flixya’s designated
   2                                                agent (JLA Decl. Ex. R. Penn
   3                                                09/13/17 Depo. Ex. 10).
       19. Moving Party’s Response
   4
   5   The paragraph has a typo. It should have said when Flixya opened an account
   6   with “Steadfast.” The asserted facts are direct quotes from the Karl
       Zimmerman Deposition, 55:16-56:5. Steadfast offers additional facts, none of
   7   which controvert the asserted facts.
   8
       20.a. In March 2011 Steadfast                Admitted, but answering further,
   9
       received “hundreds of DMCA                   Flixya’s attorney sent to Groupfive’s
 10    complaints from                              attorney a letter dated April 6, 2011,
 11    Groupfivephotosports.com” about              in which he stated “ImageBam is not
       imagebam.com. Id. pp. 64-65, Ex. 7.          a pornography site, nor is it advertised
 12    The notifications “escalated” to Karl        using user-uploaded photographs.
 13    Zimmerman, who inquired of Flixya.           ImageBam is designed, and functions
       “They provided the IPs of the users and      as, an image hosting service provider.
 14    had indicated that those users had been      The user of the website, not
 15    terminated.” Id. pp. 69-70. Flixya’s         ImageBam or its ISP, posts, copies
       primary method for tracking uploaders        and distributes images on the site.
 16
       was IP (“Internet protocol”).                ImageBam does not upload its own
 17                                                 images, nor does it use the images
 18                                                 uploaded by others for its own use,
                                                    advertising or otherwise,” and
 19                                                 “ImageBam takes the claims of
 20                                                 intellectual property infringement
                                                    very seriously, which is why we
 21
                                                    comply with the DMCA and provide a
 22                                                 means by which intellectual property
 23                                                 owners can report infringement.”
                                                    (Zimmerman Decl. ¶ 38) (JLA Decl.
 24                                                 Ex. T April 6, 2011 letter from the
 25                                                 Law Office of Hung Chang to James
                                                    Grady).
 26
       20.b. However, the same person could         Disputed as speculation. There is no
 27    log onto imagebam.com from different         evidence that the relevant
 28    IPs by logging in from different             imagebam.com users in this case
       locations. Id. pp. 29-30.                    engaged in such activity. This is
                                               - 21 -
                         ALS MSJ – Steadfast – Response to Genuine Disputes
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   1                                                entirely speculative as it pertains to
                                                    the alleged infringing acts of
   2                                                Imagebam.com’s users not in this
   3                                                case. Further, the persons uploading
                                                    the content could actually be ALS
   4
                                                    Scan members (JLA Decl. Ex. B Penn
   5                                                09/13/17 Dep. 56:6-57:24; Ex. C
   6                                                Easton 09/06/17 Dep. 36:3-38:4; Ex.
                                                    B Penn 09/13/17 Dep. 94:8-97:2; Ex.
   7                                                C Easton 09/06/17 Dep. 36:22-37:4).
   8   20.b. Moving Party’s Response
   9   The asserted fact is a direct quote from the Karl Zimmerman deposition. He
 10    directly confirmed that the same person could upload material to
 11    imagebam.com from different IP addresses. The asserted fact does not attempt
       to address the identity of users uploading infringing ALS content, or whether
 12    such user might have been ALS Scan members.
 13
       21.a. In response to the Groupfive           Admitted. Answering further, in other
 14    contentions Steadfast wanted proof that      words, under the Steadfast’s Terms,
 15    Flixya was blocking the IPs from             its clients must comply with copyright
       which the infringing uploads had             laws, and such Steadfast wanted to
 16
       occurred for Steadfast’s protection.         make sure that Flixya was complying
 17    “We needed to assure that they were          with the DMCA, and not in violation
 18    taken care of and dealing with repeat        (Zimmerman Decl. ¶12).
       infringers.” Id. 85:16-86:7
 19    21.b. Steadfast did not believe,             Disputed, mischaracterizes the
 20    however, that Steadfast has to               testimony. Steadfast wanted to ensure
       terminate repeat infringers in order to      that Flixya had a repeat infringer
 21
       maintain legal protections. Id. 86:19-       policy (JLA Declaration Exhibit O
 22    22.                                          Zimmerman Depo pp. 86:23 to 87:9).
 23                                                 Answering further, in other words,
                                                    under the Steadfast’s Terms, its
 24                                                 clients must comply with copyright
 25                                                 laws, and such Steadfast wanted to
                                                    make sure that Flixya was complying
 26
                                                    with the DMCA, and not in violation
 27                                                 (Zimmerman Decl. ¶12). Answering
 28                                                 further, Flixya is not a repeat infringer
                                                    (Zimmerman Decl. ¶ 38) (JLA Decl.
                                               - 22 -
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   1                                                  Ex. T April 6, 2011 letter from the
                                                      Law Office of Hung Chang to James
   2                                                  Grady).
   3   21.b. Moving Party’s Response
   4
       “Q. Well, is it your information that in order to maintain certain legal
   5   protections, you have to terminate repeat infringers?
   6   A. I don't believe the law says that.”
   7
       Zimmerman Depo. 86:19-22.
   8   21.c. Steadfast wanted proof that              Disputed the infringers were the
   9   Flixya was implementing Flixya’s               Flixya’s individual users not Flixya
       repeat infringer policy, but Steadfast         itself. ALS’s agent Steve Easton has
 10
       did not need the information for               confirmed that individuals posted the
 11    compliance with its own repeat                 content and the content was removed
 12    infringer policy. Id. p. 87. 4                 (JLA Declaration Ex. C; Easton
                                                      09/06/17 Depo. pp 36:22 to 37:4)
 13    21.c. Moving Party’s Response
 14
       The “dispute” doesn’t have anything to do with the asserted fact. Mr.
 15
       Zimmerman said he wanted proof that Flixya was implementing Flixya’s repeat
 16    infringer policy, but denied that he needed the information to comply with
 17    Steadfast’s own repeat infringer policy. Zimmerman Depo. 87:6-17. The fact
       that Mr. Zimmerman wanted to know whether Flixya was applying Flixya’s
 18    repeat infringer policy infers that imagebam.com’s users were the direct
 19    infringers. Whether Flixya removed content on request is beside the point.
 20
       22. Steadfast does not believe that its        Disputed, Steadfast concluded that
 21    own repeat infringer policy would              Flixya was in compliance with the
 22    “apply” whenever Steadfast’s client            requirements of the DMCA and strove
       was an Internet service provider and           to make sure it was following the
 23    supplied evidence that they complied           procedures and polices it had created
 24    with the DMCA. Id. 91:6-17.5                   in order to abide by the DMCA (JLA
                                                      Decl. Ex. O; Zimmerman Depo pp.
 25                                                   94:8 to 95:7).
 26
 27
 28
       4
           Steadfast removed the emphases from ALS’s Statement.
       5
           Steadfast removed the emphasis from ALS’s Statement.
                                                 - 23 -
                          ALS MSJ – Steadfast – Response to Genuine Disputes
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   1   22. Moving Party’s Response
   2   ALS’s asserted fact is taken directly from Mr. Zimmerman’s testimony at 91:6-
   3   17. The additional testimony proffered by Steadfast does not controvert the
       assertion, but confirms that Mr. Zimmerman came to the asserted conclusion
   4
       after his own reading of the case law.
   5
   6   23.a. After the Groupfivephotosports          Admitted. Answering further Flixya
       situation, Steadfast received hundreds        had working DMCA procedures and
   7   of notifications of infringement on           Flixya was the DMCA agent for
   8   imagebam.com from Steve Easton. Id.           Imagebam.com. (Zimmerman Decl. ¶
       pp. 95-96. Steadfast knew that Mr.            38) (JLA Decl. Ex. R, Penn 09/13/17
   9   Easton’s email notifications                  Depo Ex. 10; Ex. T April 6, 2011
 10    infringement of ALS’s works                   letter from the Law Office of Hung
 11    contained hyperlinks. Mr. Zimmerman           Chang to James Grady).
       never clicked on any of those
 12    hyperlinks or asked anyone else to do
 13    so. Id. pp. 105-06. Steadfast never
       looked at the drop box on
 14    imagebam.com asking the user to
 15    designate content as either “adult” or
       “family friendly.” Id. 41:19-42:3. Mr.
 16
       Zimmerman did not speak to Mr.
 17    Easton. Id. 96:19-22.
 18    23.b. Worse, Steadfast did not ask            Disputed, mischaracterizes the
       Flixya to supply evidence of what they        testimony of Karl Zimmerman.
 19    were doing in response to the Easton          Steadfast investigated Imagebam and
 20    notifications. The only reason                concluded it had followed everything
       Steadfast asked for evidence from             required of it under the DMCA, that
 21
       Flixya concerning their response to the       Steve Easton never stated Imagebam
 22    Groupfivephotosports notifications was        was not complying with the takedown
 23    because the copyright owner asked for         notices; and that Steadfast was not
       that evidence. Since Easton 6 did not         presented with evidence that
 24    ask for the same evidence, Steadfast          Imagebam was not complying with its
 25    did not bother to contact Flixya to find      DMCA polices (JLA Decl. Ex. O
       out what they were doing in response          Zimmerman Depo pp. 103:7 to 104:8;
 26    to the Easton notifications. Id. pp. 98-      Ex. T April 6, 2011 letter from the
 27
 28
       6
           Steadfast removed the emphases from ALS’s Statement.
                                                - 24 -
                          ALS MSJ – Steadfast – Response to Genuine Disputes
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   1   104.                                         Law Office of Hung Chang to James
                                                    Grady) (Zimmerman Decl. ¶ 38).
   2
   3   23.b. Moving Party’s Response
   4
              “Q. So with this Group Five Photosports, you communicated to
   5   ImageBam, You need to send us proof of what you're doing to terminate these
   6   users for our own records and protection, right?
              A. Yes.
   7          Q. And they gave you at one point a screenshot, and then they gave you a
   8   PDF supplying some proof of who they were terminating right?
              A. Correct.
   9          Q. Did ImageBam ever give you that kind of evidence in relation to the
 10    Steve Easton complaints?
 11           A. No, because it was never requested.
              Q. Never requested by who?
 12           A. By ALS or Steve Easton.
 13           Q. Well, why didn't Steadfast request it?
              A. Why would we request it?
 14           Q. Because you asked for it in the Group Five Photosports example.
 15           A. Because it was requested of us.
              Q. By the copyright owner?
 16
              A. Correct.”
 17
 18    Zimmerman Depo. 99:12-100:11. The asserted statement is 100% supported by
       the Zimmerman testimony. Steadfast is just spinning the same testimony.
 19    They’re saying he “investigated” imagebam.com because another copyright
 20    owner, Group Five Photosports, asked for proof of termination of
       imagebam.com users. Steadfast agrees that Mr. Zimmerman’s testimony was
 21
       that he placed the burden on Mr. Easton to not only send the infringement
 22    notice but follow up with a statement that the content was not down or demand
 23    proof of termination of imagebam.com users.

 24    24. Steadfast never bothered to find         Disputed, as stated by Karl
 25    out what Flixya was doing to terminate       Zimmerman, Steadfast had learned
       users that were eliciting Mr. Easton’s       that all automated processes were
 26    complaint because Steadfast put the          working and content was being
 27    burden on Mr. Easton to claim there          removed promptly and was never
 28    was a repeat infringement problem. Id.       given any indication that the DMCA
       p. 112. Since Flixya had demonstrated        procedures put in place by Steadfast
                                               - 25 -
                         ALS MSJ – Steadfast – Response to Genuine Disputes
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   1   that they enforced a repeat infringer         and Flixya’s Imagebam were not
       policy in response to the                     being followed (JLA Declaration
   2   Groupfivephotosports situation,               Exhibit O, Zimmerman Depo pp.
   3   Steadfast did nothing to find out what        109:2 to 110:12; Ex. T April 6, 2011
       Flixya did to terminate repeat                letter from the Law Office of Hung
   4
       infringers in responses to the Easton         Chang to James Grady) (Zimmerman
   5   notifications. Id. 116-118.                   Decl. ¶ 38).
   6
       24. Moving Party’s Response
   7
   8   Again, Steadfast is not disputing the facts, but putting its spin on the undisputed
       facts. The undisputed facts are that Mr. Zimmerman asked for proof of what
   9   imagebam.com was doing in response to the Group Five Photosports
 10    complaints because the copyright owner asked for such proof, and that Mr.
 11    Zimmerman did nothing to see what Flixya was doing in response to the Easton
       notifications because Mr. Easton did not demand that Steadfast follow up.
 12
 13    25. Steadfast has never terminated a          Admitted, answering further Steadfast
       customer for repeat infringement. Id.         has terminated customers for violating
 14    123:22-124:6. (Id. 123:22-124:6;              its terms and conditions. Unlike ALS
 15    Spillane Declaration ¶ 7, Ex. 6,              Scan which has never terminated any
       Response to Interrogatory No. 6.)             of its users for disseminating its
 16
                                                     content for free (JLA Declaration Ex.
 17                                                  A Walsh Deposition 26:16-29:14; pp
 18                                                  34:12-35:22; Ex. B Penn 09/13/17
                                                     Depo. pps 96 lines 18-22, 100 lines 3-
 19                                                  7) (Zimmerman Decl. ¶10).
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                                - 26 -
                          ALS MSJ – Steadfast – Response to Genuine Disputes
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       Steadfast’s Undisputed Facts                 ALS’s Response


   1          ALS’s RESPONSE TO STEADFAST’S ADDITIONAL FACTS
   2
   3   44. Steadfast is a data-center service       Admitted.
       provider, offering cloud-based storage
   4   solutions (Dkt. 90, 1:2-5; Zimmerman
   5   Decl. ¶4).
       45. Steadfast established terms and          Admitted.
   6
       conditions which its clients must abide
   7   by (Zimmerman Decl. ¶4).
   8   46. Steadfast’s terms and conditions         Admitted.
       are posted on its website (Zimmerman
   9   Decl. ¶4).
 10    47. Steadfast has never had to
       terminate a client for repeat
 11
       infringement (Zimmerman Decl. at
 12    ¶11).
 13    48. From 2007 to 2017 Steadfast              Admitted.
       leased servers to Flixya Entertainment
 14    (“Flixya”). (John Ambrogi (“JLA”)
 15    Decl. Ex. O; Karl Zimmerman (“KZ”)
       Dep. 15:12-18; Dkt. 296-2;
 16
       Zimmerman Decl. ¶¶ 14-20).
 17    49. The leased servers were                  Objection, vague and ambiguous.
 18    completely dedicated to Flixya,              Disputed. If by “hosting” Steadfast
       including its operation of hosting           means storage of a website on a server,
 19    Flixya’s Imagebam.com website                Steadfast provided and configured the
 20    (Zimmerman Decl. ¶¶14-20).                   servers leased by Flixya and placed the
                                                    servers on racks in Steadfast’s data
 21                                                 center. Zimmerman Depo. pp. 30-31.
 22    50. Steadfast had no ability to              Objection, calls for a legal conclusion.
 23    terminate services to individual users       Admitted that Steadfast could have
       of Imagebam.com other than                   powered down the servers on which
 24    unilaterally shutting down the entire        imagebam.com was stored.
 25    server which would have violated the
       law (JLA Decl. Ex. O p.45:6-24;
 26    Zimmerman Decl. ¶11).
 27    51. Imagebam.com was not a pirate            Objection, vague and ambiguous.
 28    site when it was operated by Flixya          Disputed. Imagebam.com has

                                                - 27 -
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       Steadfast’s Undisputed Facts                 ALS’s Response


   1   (JLA Decl. Exs. K-N, T; Zimmerman            frequently stored and displayed
       Decl. ¶¶38-39).                              infringing galleries of ALS content.
   2                                                From December 26, 2013 through
   3                                                June 22, 2017 Steve Easton sent 853
                                                    notices of infringement to
   4
                                                    imagebam.com and Steadfast of
   5                                                infringing content belonging to ALS
   6                                                or other of Steve Easton’s adult clients
                                                    that was reproduced, displayed and
   7                                                distributed without authority on
   8                                                imagebam.com. (Easton Decl.; Notice
                                                    of Manual Filing; Penn Decl. ¶¶ 2-4,
   9                                                Exs. 1-19; Walsh Decl.¶¶ 10, 11.) Of
 10                                                 those notices from Easton, 185 gave
 11                                                 notice of copyright and trademark
                                                    infringement pertaining to ALS’s
 12                                                 content. (Id.) A single email often
 13                                                 gave notice of infringement of dozens,
                                                    if not two hundred or more,
 14                                                 copyrighted works. (Id.)
 15                                                 Steadfast admitted to receiving a total
                                                    of 1,517 notifications of infringement
 16
                                                    on imagebam.com since 2013.
 17                                                 (Spillane Decl. ¶ 2, Ex. 1, Response to
 18                                                 Interrogatory 13.)
       52. Steadfast did not operate, control,      Admitted.
 19    or manage any functions of Flixya’s
 20    Imagebam.com website (Zimmerman
       Decl. ¶¶18-22).
 21
       53. Steadfast did not have access to         Admitted.
 22    individual users’ content or accounts
 23    on Flixya’s Imagebam.com website
       (Zimmerman Decl. ¶29).
 24    54. Steadfast did not provide the            Admitted.
 25    software that ran the Flixya’s
       Imagebam.com website or provide
 26
       services for users to upload content
 27    (Zimmerman Decl. ¶¶18-22).
 28    55. Steadfast did not enter into             Admitted.
                                                - 28 -
                          ALS MSJ – Steadfast – Response to Genuine Disputes
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       Steadfast’s Undisputed Facts                  ALS’s Response


   1   contracts with Flixya’s Imagebam.com
       users (Zimmerman Decl. ¶ 22.
   2   56. Steadfast did not register Flixya’s       Admitted.
   3   Imagebam.com users (Zimmerman
       Decl. ¶ 22).
   4
       57. Steadfast did not handle Flixya’s         Objection, vague and ambiguous.
   5   Imagebam.com user complaints                  “Disputed.” Steadfast was supposed
   6   (Zimmerman Decl. ¶ 22).                       to “handle” the infringement
                                                     notifications from Mr. Easton by
   7                                                 reasonably implementing a policy of
   8                                                 termination of repeat infringers.
                                                     (Easton Decl.; Notice of Manual
   9
                                                     Filing; Penn Decl. ¶¶ 2-4, Exs. 1-19;
 10                                                  Walsh Decl.¶¶ 10, 11.)
 11    58. Steadfast did not in any way              Admitted.
       communicate with or interact with
 12    Flixya’s Imagebam.com individual
 13    users (Zimmerman Decl. ¶ 22).
       59. Steadfast did not select any of the       Admitted.
 14
       content Flixya’s Imagebam.com users
 15    posted (Zimmerman Decl. ¶¶ 22, 24).
 16    60. Steadfast did not in any way              Admitted.
       promote or take any affirmative steps
 17    to encourage any infringing activity
 18    (Zimmerman Decl. ¶¶22-25).
       61. Steadfast did not have the right or       Admitted.
 19
       ability to supervise Flixya’s
 20    Imagebam.com users’ conduct
 21    (Zimmerman Decl. ¶¶ 29-31).
       62. Steadfast did not gain a direct           Admitted.
 22    financial interest from the individual
 23    user’s conduct (Zimmerman Decl. ¶
       15).
 24
       63. Flixya has its own terms and              Objection, lacks foundation.
 25    conditions that apply to its users, and it    Disputed. The Ambrogi Declaration
 26    maintains its own DMCA agent. (JLA            attaches and fails to authenticate two
       Decl. Exhs. Q and R).                         hearsay documents, neither of which
 27                                                  states any policy pertaining to
 28                                                  copyright infringement.
                                                 - 29 -
                           ALS MSJ – Steadfast – Response to Genuine Disputes
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       Steadfast’s Undisputed Facts                ALS’s Response


   1   64. Many, of the infringers of the          Objection, lacks foundation.
       ALS content, were actually ALS’s            Disputed. Penn 56-57 has nothing to
   2   own members who posted ALS                  do with the assertion. At p. 96 Mr.
   3   content (JLA Decl. Ex. B Penn               Penn says it is “possible” that an ALS
       09/13/17 Dep. 56:6-57:24; Ex. C             member could have posted infringing
   4
       Easton 09/06/17 Dep. 36:3-38:4; Ex. B       copies of ALS content. No witness
   5   Penn 09/13/17 Dep. 94:8-97:2; Ex. E         said they had knowledge that it was an
   6   Easton 07/28/17 Dep. 36:22-37:4).           ALS member who was uploading the
                                                   infringing content.
   7   65. On June 21, 2017, Flixya sold           Admitted.
   8   Imagebam.com to Securest Ltd.
       (Zimmerman Decl. ¶36).
   9
       66. Steadfast offers no services to         Admitted.
 10    Securest (Zimmerman Decl. ¶37).
 11    67. ALS confirmed that all the images Objection, lacks foundation.
       addressed in the notices were removed Disputed. It is not clear in the cited
 12    expeditiously (JLA Decl. Ex. C Easton testimony which images are being
 13    09/06/17 Dep. 36:22-37:4).            discussed. Mr. Easton says that
                                             whatever images were being discussed
 14                                          were removed, but he did not address
 15                                          timing.
 16    68. Flixya posted the required DMCA Objection, lacks foundation.
       information on its Imagebam.com       Disputed. The Ambrogi Declaration
 17    website (JLA Decl. Exhs. Q & R;       attaches and fails to authenticate two
 18    Penn’s 09/13/17 Dep. Ex. 6).          hearsay documents, neither of which
                                             states any policy pertaining to
 19                                          copyright infringement.
 20    69. Flixya had users agree to the     Objection, lacks foundation.
 21    terms of service (JLA Decl. Exhs. Q & Disputed. The Ambrogi Declaration
       R; Penn’s 09/13/17 Dep. Ex. 6).       attaches and fails to authenticate two
 22                                          hearsay documents, neither of which
 23                                          states any policy pertaining to
                                             copyright infringement. Neither
 24                                          document shows that Flixya users had
 25                                          to agree to terms.
       70. Flixya responded to DMCA          Disputed. The only time Steadfast
 26
       notifications, removed content, and   found out what Flixya did in response
 27    terminated repeat infringers (JLA     to infringement notices was with
 28    Decl. Ex. O, KZ Dep. 109:2-110:12;    Group Five Photosports. Zimmerman
                                               - 30 -
                         ALS MSJ – Steadfast – Response to Genuine Disputes
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       Steadfast’s Undisputed Facts                ALS’s Response


   1   Zimmerman Decl. ¶26).                       Depo. 64-65, 69-70. After the
                                                   Groupfivephotosports situation,
   2                                               Steadfast received hundreds of
   3                                               notification of infringement on
                                                   imagebam.com from Steve Easton. Id.
   4
                                                   pp. 95-96. Steadfast knew that Mr.
   5                                               Easton’s email notifications
   6                                               infringement of ALS’s works
                                                   contained hyperlinks. Mr.
   7                                               Zimmerman never clicked on any of
   8                                               those hyperlinks or asked anyone else
                                                   to do so. Id. pp. 105-06. Steadfast
   9                                               never looked at the drop box on
 10                                                imagebam.com asking the user to
 11                                                designate content as either “adult” or
                                                   “family friendly.” Id. 41:19-42:3. Mr.
 12                                                Zimmerman did not speak to Mr.
 13                                                Easton. Id. 96:19-22. Worse,
                                                   Steadfast did not ask Flixya to supply
 14                                                evidence of what they were doing in
 15                                                response to the Easton notifications.
                                                   The only reason Steadfast asked for
 16
                                                   evidence from Flixya concerning their
 17                                                response to the Groupfivephotosports
 18                                                notifications was because the
                                                   copyright owner asked for that
 19                                                evidence. Since Easton did not ask for
 20                                                the same evidence, Steadfast did not
                                                   bother to contact Flixya to find out
 21                                                what they were doing in response to
 22                                                the Easton notifications. Id. pp. 98-
 23                                                104.
       71. Steadfast made sure complained          Objection. Steadfast cannot provide
 24    of content was removed through its          testimony by declaration that
 25    ticketing system which tracked all          contradicts the testimony of its
       DMCA notices, including those where         30(b)(6) witness. Disputed. The only
 26    Steadfast was merely cc’d (Kevin            time Steadfast found out what Flixya
 27    Stange Decl. ¶¶ 4-10).                      did in response to infringement notices
 28                                                was with Group Five Photosports.

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       Steadfast’s Undisputed Facts                ALS’s Response


   1                                               Zimmerman Depo. 64-65, 69-70.
                                                   After the Groupfivephotosports
   2                                               situation, Steadfast received hundreds
   3                                               of notification of infringement on
                                                   imagebam.com from Steve Easton. Id.
   4
                                                   pp. 95-96. Steadfast knew that Mr.
   5                                               Easton’s email notifications
   6                                               infringement of ALS’s works
                                                   contained hyperlinks. Mr.
   7                                               Zimmerman never clicked on any of
   8                                               those hyperlinks or asked anyone else
                                                   to do so. Id. pp. 105-06. Steadfast
   9                                               never looked at the drop box on
 10                                                imagebam.com asking the user to
 11                                                designate content as either “adult” or
                                                   “family friendly.” Id. 41:19-42:3. Mr.
 12                                                Zimmerman did not speak to Mr.
 13                                                Easton. Id. 96:19-22. Worse,
                                                   Steadfast did not ask Flixya to supply
 14                                                evidence of what they were doing in
 15                                                response to the Easton notifications.
                                                   The only reason Steadfast asked for
 16
                                                   evidence from Flixya concerning their
 17                                                response to the Groupfivephotosports
 18                                                notifications was because the
                                                   copyright owner asked for that
 19                                                evidence. Since Easton did not ask for
 20                                                the same evidence, Steadfast did not
                                                   bother to contact Flixya to find out
 21                                                what they were doing in response to
 22                                                the Easton notifications. Id. pp. 98-
 23                                                104.
       72. Steadfast never received a              Objection, compound, vague and
 24    DMCA-compliant notification from            ambiguous. Disputed. ALS sent
 25    Easton because it is not the designated     infringement notifications to Steadfast
       agent of Imagebam.com (JLA Decl.            by using the email address provided by
 26    Ex. B, Penn Dep. 50:17 – 52-6; Ex. Q;       Steadfast for infringement notices.
 27    Stange Decl. 5).                            (Easton Decl.; Notice of Manual
 28                                                Filing; Penn Decl. ¶¶ 2-4, Exs. 1-19;

                                               - 32 -
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       Steadfast’s Undisputed Facts                ALS’s Response


   1                                               Walsh Decl.¶¶ 10, 11.)
       73. Steadfast did not have awareness        Admitted.
   2   of any alleged specific infringement
   3   prior to the DMCA notification (JLA
       Decl. Ex. B, Penn Dep. 62:16-63:21;
   4
       77:9-19; 81:9-17; 86:1-12; 93:15-22;
   5   105:18-25; 109:6-13; 116:23-117:3).
   6   74. ALS through its agent, admits that      Disputed. The witness does not say
       Steadfast responded to all DMCA             that the responses were from Steadfast,
   7   notifications from ALS (JLA Decl. Ex.       or that Steadfast did anything in
   8   C, Easton Dep. 28:25-29:3).                 response to the notices.
       75. Steadfast immediately forwarded         Objection. Steadfast cannot provide
   9
       the DMCA Notices to Flixya which            testimony by declaration that
 10    resulted in the images being removed        contradicts the testimony of its
 11    (Stange Decl. ¶8; JLA Ex. C Easton          30(b)(6) witness. Disputed. Steadfast
       09/06/17 Dep. 36:22-37:4).                  did nothing in response to the Easton
 12                                                notices. Zimmerman Depo. pp. 95-
 13                                                104. Easton only testified that
                                                   unspecified images were removed. He
 14                                                said nothing about what Steadfast did.
 15    76. ALS has approximately                   Admitted.
 16    [Redacted] members (JLA Decl. Ex A
       Walsh Dep. 23:2-25:11).
 17    77. ALS was aware that some of these        Disputed. The witness did not say she
 18    [Redacted] members were meting out          knows ALS members were “meting
       its copyrighted images but never            out copyrighted images” nor did she
 19    bothered to determine which members         say she “never bothered” to determine
 20    were responsible for these activities       which members were responsible for
 21    (JLA Decl. Ex A Walsh Dep. 23:2-            doing this. What Ms. Walsh says is
       25:11).                                     that if ALS members are violating
 22                                                terms by uploading ALS content
 23                                                without authorization, she doesn’t
                                                   know how she could learn their
 24                                                identities.
 25    78. Despite knowing its members             Objections, assumes facts not in
       were violating its terms and                evidence. Disputed. No ALS witness
 26
       conditions, ALS never terminated any        testified that they knew which of their
 27    memberships for copyright                   members, if any, had violated ALS
 28    infringement (JLA Decl. Ex. B Penn          terms of service.
                                               - 33 -
                         ALS MSJ – Steadfast – Response to Genuine Disputes
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       Steadfast’s Undisputed Facts                ALS’s Response


   1   09/13/17 Dep. 98:10-100:8).
       79. ALS never prevented its members    Disputed. Steadfast mispresents the
   2   from downloading all of its content    Penn deposition. All he said was that
   3   (Ex. B Penn 09/13/17 Dep. 100:3-18).   it was possible that ALS members
                                              downloaded ALS content then
   4
                                              reuploaded that to a pirate site without
   5                                          authority, but he did not testify ALS
   6                                          knew this to be the case. He said that
                                              he was not aware of any adult content
   7                                          provider that used digital rights
   8                                          management (“DRM”). Mr. Penn did
                                              not say, nor did Steadfast provide
   9                                          evidence, that any DRM technology
 10                                           would prevent or identify an ALS
 11                                           member from uploading content to a
                                              pirate site or identify that member.
 12    80. ALS never attempted to determine Disputed. Steadfast mispresents the
 13    which of its members were posting its Penn deposition. All he said was that
       content on the adult fan forums (Ex. B it was possible that ALS members
 14    Penn 09/13/17 Dep. 100:3-18).          downloaded ALS content then
 15                                           reuploaded that to a pirate site without
                                              authority, but he did not testify ALS
 16
                                              knew this to be the case. He said that
 17                                           he was not aware of any adult content
 18                                           provider that used digital rights
                                              management (“DRM”). Mr. Penn did
 19                                           not say, nor did Steadfast provide
 20                                           evidence, that any DRM technology
                                              would prevent or identify an ALS
 21
                                              member from uploading content to a
 22                                           pirate site or identify that member.
 23    81. ALS never sought to enforce its    Disputed. Steadfast mispresents the
       terms and conditions against its       Penn deposition. All he said was that
 24    members (Ex. B Penn 09/13/17 Dep.      it was possible that ALS members
 25    100:3-18).                             downloaded ALS content then
                                              reuploaded that to a pirate site without
 26
                                              authority, but he did not testify ALS
 27                                           knew this to be the case. He said that
 28                                           he was not aware of any adult content

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                         ALS MSJ – Steadfast – Response to Genuine Disputes
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       Steadfast’s Undisputed Facts                ALS’s Response


   1                                          provider that used digital rights
                                              management (“DRM”). Mr. Penn did
   2                                          not say, nor did Steadfast provide
   3                                          evidence, that any DRM technology
                                              would prevent or identify an ALS
   4
                                              member from uploading content to a
   5                                          pirate site or identify that member.
   6   82. ALS admits its “practice was       Disputed. Steadfast mispresents the
       never to use any sort of technology or Penn deposition. All he said was that
   7   tracking to see an image come off of   it was possible that ALS members
   8   our server and then follow it as that  downloaded ALS content then
       user took it and you know, tried to    reuploaded that to a pirate site without
   9   disseminate it elsewhere.” (Ex. B Penn authority, but he did not testify ALS
 10    09/13/17 Dep. 100:3-18).               knew this to be the case. He said that
 11                                           he was not aware of any adult content
                                              provider that used digital rights
 12                                           management (“DRM”). Mr. Penn did
 13                                           not say, nor did Steadfast provide
                                              evidence, that any DRM technology
 14                                           would prevent or identify an ALS
 15                                           member from uploading content to a
                                              pirate site or identify that member.
 16
       83. The enforcement activities that    Admitted.
 17    ALS undertook was to hire Steve
 18    Easton at $[Redacted] a year for 15
       years to send DMCA notices (JLA
 19    Decl. Ex. A Walsh Dep. 26:11-29:14,
 20    34:12-35:22; Ex. B Penn 09/13/17
       Dep. 96:18-100:7).
 21
       84. Easton did not have any quota of   Admitted.
 22    notices to send nor did ALS hire
 23    anybody else to assist with the
       takedown of images (JLA Decl. Ex. A
 24    Walsh Dep. 26:11-29:14, 34:12-35:22;
 25    Ex. B Penn 09/13/17 Dep. 96:18-
       100:7).
 26
       85. Flixya never promoted infringing Objection, lacks foundation.
 27    activity at its Imagebam.com website. Disputed. Ex. Q is an authenticated
 28    (JLA Decl. Ex.Q).                      hearsay document that does not

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                         ALS MSJ – Steadfast – Response to Genuine Disputes
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       Steadfast’s Undisputed Facts                ALS’s Response


   1                                               address promotion of infringement.
       86. Steadfast only leased servers to        Admitted.
   2   Flixya (JLA Decl. Ex. O, KZ Dep.
   3   15:12-18; Zimmerman Decl. ¶¶14-20,
       Dkt. 296-2, ALS’s SUF ¶ 10, 11).
   4
       87. Steadfast did not operate Flixya’s Disputed. Steadfast provided and
   5   servers (Zimmerman Decl. ¶ 18).        configured the servers leased by
   6                                          Flixya and placed the servers on racks
                                              in Steadfast’s data center.
   7                                          Zimmerman Depo. pp. 30-31.
   8
       88. The servers leased by Flixya were       Admitted.
   9
       completely dedicated to Flixya’s
 10    operations, including its operation of
 11    hosting Imagebam.com (Decl. KZ ¶19;
       JLA Decl. Ex. O, KZ Dep. 15:12-18;
 12    Dkt. 296-2; ALS’s SUF ¶ 10, 11).
 13    89. Steadfast’s only means to               Objection, calls for a legal conclusion.
       withdraw services from individual           Disputed. Steadfast could power
 14
       Imagebam.com’s users would be to            down the servers on which
 15    break the law by hacking Flixya’s           imagebam.com resided. Zimmerman
 16    system. (JLA Decl. Ex. O, KZ Dep.           Depo. pp. 46-48.
       45:6-24; Zimmerman Decl. ¶¶29-32).
 17    90. Flixya is not a direct infringer     Objection, lacks foundation, call for a
 18    (JLA Decl. Ex. B, Penn Dep. 64:13-       legal conclusion. Disputed. Steadfast
       65:11; 72:10-24).                        does not identify whether Flixya or
 19                                             third party users uploaded infringing
 20                                             ALS content.
 21    91. Flixya posted the required DMCA Objection, lacks foundation.
       information on imagebam.com, had         Disputed. The Ambrogi Declaration
 22    users agree to the terms of service, and attaches and fails to authenticate two
 23    informed users that his or her account hearsay documents, neither of which
       will be terminated (JLA Decl. Ex. O,     states any policy pertaining to
 24    KZ Dep. 24:2-27:24, Exhs. Q & R).        copyright infringement.
 25    92. Flixya had a system for removing Objection, lacks foundation.
 26    unauthorized content, responding to      Disputed. The Ambrogi Declaration
       DMCA notifications, removing             attaches and fails to authenticate two
 27    content, and terminating repeat          hearsay documents, neither of which
 28    infringers (JLA Decl. Ex. O, KZ Dep. states any policy pertaining to
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                         ALS MSJ – Steadfast – Response to Genuine Disputes
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       Steadfast’s Undisputed Facts                ALS’s Response


   1   24:2-27:24, Exhs. Q & R).               copyright infringement. The only time
                                               Steadfast found out what Flixya did in
   2                                           response to infringement notices was
   3                                           with Group Five Photosports.
                                               Zimmerman Depo. 64-65, 69-70.
   4
                                               Steadfast did nothing in response to
   5                                           the Easton notices. Zimmerman Depo.
   6                                           pp. 95-104.
       93. ALS, through Eric Penn, has         Objection, vague and ambiguous.
   7   admitted Steadfast would not have       Disputed. The testimony was that
   8   specific knowledge of infringement      Steadfast would not necessarily have
       (JLA Decl. Ex. B Penn 09/13/17 Dep. specific knowledge of infringing ALS
   9   62:16-64:11; 77:9-77:19; 81:9-81:17; content prior to receipt of a notice
 10    86:5-86:12; 93:15-22; 105:18-25;        from Easton. The Easton notices
 11    109:6-13: 116:23-117:3).                provided direct and specific
                                               information about the location of
 12                                            infringing ALS content.
 13    94. Steadfast immediately forwarded Objection. Steadfast cannot provide
       the notices it received from ALS to     testimony by declaration that
 14    Flixya (Stange Decl. ¶ 8 JLA Decl. Ex. contradicts the testimony of its
 15    O KZ Dep. 86:23-87:9).                  30(b)(6) witness. Disputed.
                                               Steadfast did nothing in response to
 16
                                               the Easton notices. Zimmerman Depo.
 17                                            pp. 95-104.
 18    95. Flixya disabled access to all the   Objection, lacks foundation.
       allegedly infringing works that were    Disputed. It is not clear in the cited
 19    hosted on imagebam.com and they are testimony which images are being
 20    no longer available on imagebam.com discussed. Mr. Easton says that
       (JLA Decl. Ex. C Easton 09/06/17        whatever images were being discussed
 21
       Dep. 36:22- 37:4).                      were removed, but he did not address
 22                                            timing.
 23    96. Imagebam.com is an image host       Objection, lacks foundation.
       therefore Flixya is a servicer provider Disputed. The Ambrogi Declaration
 24    and Flixya was the designated an agent attaches and fails to authenticate two
 25    for Imagebam.com with the Copyright hearsay documents, neither of which
       Office and conspicuously posted the     states any policy pertaining to
 26
       necessary DMCA-agent information        copyright infringement.
 27    on its website (JLA Decl. Exs. Q and
 28    R, Penn 09/13/2017 Dep. Exs. 6 &

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                         ALS MSJ – Steadfast – Response to Genuine Disputes
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       Steadfast’s Undisputed Facts                ALS’s Response


   1   10).
       97. Neither the Imagebam.com                Admitted.
   2   website or the Copyright Office
   3   mentions Steadfast as the DMCA
       agent for Imagebam.com (JLA Decl.
   4
       Exs. Q and R, Penn 09/13/2017 Dep.
   5   Exs. 6 & 10).
   6   98. ALS neither identified nor              Disputed. From December 26, 2013
       provided a list of allegedly infringed      through June 22, 2017 Steve Easton
   7   works made accessible through               sent 853 notices of infringement to
   8   Steadfast’s website (Zimmerman Decl.        imagebam.com and Steadfast of
       ¶34; Stange Decl. ¶11).                     infringing content belonging to ALS
   9
                                                   or other of Steve Easton’s adult clients
 10                                                that was reproduced, displayed and
 11                                                distributed without authority on
                                                   imagebam.com. (Easton Decl.; Notice
 12                                                of Manual Filing; Penn Decl. ¶¶ 2-4,
 13                                                Exs. 1-19; Walsh Decl.¶¶ 10, 11.) Of
                                                   those notices from Easton, 185 gave
 14                                                notice of copyright and trademark
 15                                                infringement pertaining to ALS’s
                                                   content. (Id.) A single email often
 16
                                                   gave notice of infringement of dozens,
 17                                                if not two hundred or more,
 18                                                copyrighted works. (Id.) The emails
                                                   contain hyperlinks identifying both the
 19                                                infringed work and its location on the
 20                                                imagebam.com site. (Id.)
       99. ALS did not provide Steadfast           Disputed. From December 26, 2013
 21
       with reasonably sufficient information      through June 22, 2017 Steve Easton
 22    to locate the allegedly infringing          sent 853 notices of infringement to
 23    material (JLA Decl. Ex. O KZ Dep.           imagebam.com and Steadfast of
       45:6-24).                                   infringing content belonging to ALS
 24                                                or other of Steve Easton’s adult clients
 25                                                that was reproduced, displayed and
                                                   distributed without authority on
 26
                                                   imagebam.com. (Easton Decl.; Notice
 27                                                of Manual Filing; Penn Decl. ¶¶ 2-4,
 28                                                Exs. 1-19; Walsh Decl.¶¶ 10, 11.) Of

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                         ALS MSJ – Steadfast – Response to Genuine Disputes
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       Steadfast’s Undisputed Facts                 ALS’s Response


   1                                                those notices from Easton, 185 gave
                                                    notice of copyright and trademark
   2                                                infringement pertaining to ALS’s
   3                                                content. (Id.) A single email often
                                                    gave notice of infringement of dozens,
   4
                                                    if not two hundred or more,
   5                                                copyrighted works. (Id.) The emails
   6                                                contain hyperlinks identifying both the
                                                    infringed work and its location on the
   7                                                imagebam.com site. (Id.)
   8   100. Steadfast could not remove the          Objections, calls for a legal
       material on its servers without              conclusion. Disputed. Steadfast could
   9   breaking the law (17 U.S.C. §                power down the servers on which
 10    512(m)(2); 18 U.S.C. § 1030                  imagebam.com resided. Zimmerman
 11    (prohibiting accessing a computer            Depo. pp. 46-48.
       without or in excess of authorization)).
 12    101. Steadfast did something in          Objection. Steadfast cannot provide
 13    response to each of Easton’s notices     testimony by declaration that
       (Stange Decl. ¶ 10; JLA Decl. Ex. O      contradicts the testimony of its
 14    KZ Dep. 45:6-24).                        30(b)(6) witness. Disputed.
 15                                             Steadfast did nothing in response to
                                                the Easton notices. Zimmerman Depo.
 16
                                                pp. 95-104.
 17    102. In response to Easton’s notices,    Objection. Steadfast cannot provide
 18    Steadfast immediately forwarded the      testimony by declaration that
       notices to Flixya, which resulted in the contradicts the testimony of its
 19    removal of the material or the           30(b)(6) witness. Disputed.
 20    material’s accessibility being disabled Steadfast did nothing in response to
       (JLA Decl. Ex. C Easton Dep. 28:25- the Easton notices. Zimmerman Depo.
 21
       29:3).                                   pp. 95-104.
 22    103. Steadfast engaged in the activity Objection. Steadfast cannot provide
 23    of forwarding notices to Flixya with     testimony by declaration that
       the goal of removing the material (JLA contradicts the testimony of its
 24    Decl. Ex. C Easton Dep. 32:22-23).       30(b)(6) witness. Disputed.
 25                                             Steadfast did nothing in response to
                                                the Easton notices. Zimmerman Depo.
 26
                                                pp. 95-104.
 27    104. Steadfast’s actions resulted in the Objection. Steadfast cannot provide
 28    removal of the alleged infringing ALS testimony by declaration that

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                          ALS MSJ – Steadfast – Response to Genuine Disputes
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       Steadfast’s Undisputed Facts                 ALS’s Response


   1   content, which ALS acknowledges            contradicts the testimony of its
       (JLA Decl. Ex. C Easton Dep. 37:3-4). 30(b)(6) witness. Disputed.
   2                                              Steadfast did nothing in response to
   3                                              the Easton notices. Zimmerman Depo.
                                                  pp. 95-104.
   4
       105. Steadfast had a ticketing system Objection. Steadfast cannot provide
   5   which monitored all incoming DMCA testimony by declaration that
   6   notifications and set up procedures to contradicts the testimony of its
       follow up on all received notices to       30(b)(6) witness. Disputed.
   7   ensure compliance by their clients         Steadfast did nothing in response to
   8   (Decl. Stange ¶¶3-9).                      the Easton notices. Zimmerman Depo.
                                                  pp. 95-104.
   9
       106. Steadfast adopted a policy that       Objection as to time. Disputed. The
 10    read in part “This document clearly        quoted policy was not stated until
 11    outlines procedures and restrictions for January 2017, after Steadfast was
       all clients. . . . [W]e will not tolerate  served with process in this case.
 12    any unlawful activity or abuse on our Spillane Decl. ¶ 5, Ex. 4; 12/8/16
 13    servers. . . . In the absence of any other Stipulation to Vacate Default, Doc. 75.
       Agreement, you will have accepted
 14    this Policy and these Terms and be
 15    bound by them if you use any of the
       services offered by Steadfast
 16
       (“Services”). . . . We reserve the right
 17    to refuse service to anyone for any
 18    reason not prohibited by law. Also we
       reserve the right to terminate service to
 19    any client for any reason not
 20    prohibited by law. . .. Transmission,
       storage, or presentation of any
 21
       information, data or material in
 22    violation of any American law is
 23    prohibited. This includes, but is not
       limited to: copyrighted material,
 24    trademark, intellectual property,
 25    material that promotes any illegal
       activity. . . . Any illegal activity may
 26    result in your site being suspended
 27    immediately, without notification”
 28    (Decl. of KZ ¶6, Ex. A).

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                          ALS MSJ – Steadfast – Response to Genuine Disputes
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       Steadfast’s Undisputed Facts                ALS’s Response


   1   107. Steadfast requires its clients to      Admitted.
       accept these terms and conditions
   2   (Decl. of KZ ¶6).
   3   108. Steadfast’s terms and conditions       Admitted.
       agreement is posted on its website
   4
       (Decl. of KZ ¶7).
   5   109. Steadfast reserves the right to        Admitted.
   6   terminate any client for any violation
       not prohibit by law, including
   7   copyright and trademark infringement
   8   (Zimmerman Decl. Ex. A).
       110. Steadfast had a working            Objection. Steadfast cannot provide
   9
       notification system; a procedure for    testimony by declaration that
 10    dealing with DMCA notifications; did    contradicts the testimony of its
 11    not prevent copyright holders from      30(b)(6) witness. Disputed.
       collecting information to issue         Steadfast did nothing in response to
 12    notifications (Stange Decl. ¶¶ 4-10).   the Easton notices. Zimmerman Depo.
 13                                            pp. 95-104.
       111. Since 2013 Steadfast received an Objection, assumes facts not in
 14
       average of 28 notices per month (albeit evidence, compound, lacks foundation.
 15    deficient notices under the DMCA)       Disputed. The interrogatory response
 16    regarding images on Flixya’s            was not signed by Steadfast and does
       Imagebam.com. For the years 2016        not contain the asserted information.
 17    and 2017 the number of notices
 18    actually decreased to 21 per month.
       (JLA Decl. Ex. P Steadfast’s Response
 19    to Plaintiff’s Second Special
 20    Interrogatories).
 21    112. Google receives 75,000,000         Objection, lacks foundation, hearsay.
       DMCA notices a month (JLA Decl.         Disputed.
 22    Ex. S).
 23    113. Flixya posted the required         Objection, lacks foundation, hearsay.
       DMCA information on its                 Disputed. The Penn testimony is
 24    imagebam.com website (JLA Decl.         about a document filed with the
 25    Ex. B, Penn Dep. 50:17-52:6; Ex. O,     Copyright Office, not what was on the
       KZ Dep. 24:2-27:24, Ex. R).             imagebam.com site. The Zimmerman
 26
                                               deposition doesn’t have evidence of
 27                                            what appeared on the imagebam.com
 28                                            site. Ex. R is the document
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                         ALS MSJ – Steadfast – Response to Genuine Disputes
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       Steadfast’s Undisputed Facts                ALS’s Response


   1                                           supposedly submitted to the Copyright
                                               Office. There is no evidence of what
   2                                           was stated on the imagebam.com site.
   3   114. Flixya users agree to the terms of Objection, lacks foundation, hearsay.
       service, and informed users that his or Disputed. The Penn testimony is
   4
       her account will be terminated (JLA     about a document filed with the
   5   Decl. Ex. B, Penn Dep. 50:17-52:6;      Copyright Office, not what was on the
   6   Ex. O, KZ Dep. 24:2-27:24, Ex. R).      imagebam.com site. The Zimmerman
                                               deposition doesn’t have evidence of
   7                                           what appeared on the imagebam.com
   8                                           site. Ex. R is the document
                                               supposedly submitted to the Copyright
   9                                           Office. There is no evidence of what
 10                                            was stated on the imagebam.com site.
 11    115. Flixya had an automated system Objection, lacks foundation, hearsay.
       for removing unauthorized content,      Disputed. Zimmerman testimony is
 12    responded to DMCA notifications,        only that he witnessed Flixya do
 13    removed content, and terminated         something in response to the Group
       repeat infringers (JLA Decl. Ex. O,     Give Photosports complaints.
 14    KZ Dep. pp 24:2-27:24).
 15
 16
 17    DATED: January 19, 2018                  SPILLANE LAW GROUP PLC
 18                                             GHALLAGHER & KENNEDY P.A.

 19
 20
                                                By: _____________________________
 21
                                                            Jay M. Spillane
 22                                             Attorneys for Plaintiff ALS Scan, Inc.
 23
 24
 25
 26
 27
 28
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this action. My business address is: 468 N. Camden Drive, Second Floor,
Beverly Hills, CA 90210-4507. A true and correct copy of the foregoing document entitled (specify):
PLAINTIFF’S RESPONSE TO STATEMENT OF GENUINE DISPUTES RE MOTION
FOR PARTIAL SUMMARY JUDGMENT AGAINST DEFENDANT STEADFAST
NETWORKS, LLC will be served or was served (a) on the judge in chambers in the form and manner required by
Local Rules and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and Local Rules, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) January 19, 2018, I checked the CM/ECF docket for this action and determined that the following persons are on
the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Gary L. Bostwick– gbostwick@B1Law.com                           Colin TJ O’Brien – tm@partridgepartnerspc.com
Kevin S. Toll – kevin@silversteinlegal.com                      John L. Ambrogi – jla@partridgepartnerspc.com
Lawrence G. Walters – larry@firstamendment.com                  Daniel L Rogna daniel@partridgepartnerspc.com
Corey D. Silverstein – corey@silversteinlegal.com               Paul Supnick – paul@supnick.com
Rachel Kassabian – rachelkassabian@quinnemanuel.com             Raymond Katrinak – pkatrinak@kernanlaw.net
Carolyn M. Homer – carolynhomer@quinnemanuel.com                Ryan Carreon – rcarreon@kernanlaw.net
Mark Thomas Gray markgray@quinnemanuel.com                      Stephen M Kernan – kernanlaw@gmail.com
Armen Nercessian anercessian@fenwick.com                        John P Flynn john.flynn@gknet.com
Jedediah Wakefield jwakefield@fenwick.com                       Kevin D Neal kevin.neal@gknet.com
Sapna S Mehta smehta@fenwick.com

                                                                           Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) January 19, 2018, I served the following persons and/or entities at the last known addresses in this case by
placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.

                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling Local Rule, on (date) January 19, 2018, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

Served by Overnight Mail or Attorney Service
Hon. George H. Wu
U.S. District Court
         st
350 W. 1 Street
Courtroom 9D
Los Angeles, CA 90012                                                      Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/19/2018                   Jessie Gietl

 Date                     Printed Name                                         Signature
